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                                                        INTRODUCTION
                          3ODLQWLIIV¶ RSSRVLWLRQ FRQILUPV WKDW WKH\ LQWHQG WR LQWURGXFH D ZLGH UDQJH RI
                   LUUHOHYDQWDQGLQIODPPDWRU\VWDWHPHQWVLQFOXGLQJSLUDWHLPDJHU\DQHDUO\WKUHHGHFDGH
                   ROGTXRWHIURP6WHYH-REVWKDWSDUDSKUDVHV3DEOR3LFDVVRDQGUHIHUHQFHVWRVRFDOOHG
                   ³HIILFLHQW LQIULQJHPHQW´  %HFDXVH 3ODLQWLIIV IDLO WR FRQQHFW WKHVH VWDWHPHQWV WR DQ\
                   UHOHYDQW LVVXH DQG LQ DQ\ HYHQW IDLO WR RIIHU DQ\ FRKHUHQW DUJXPHQW IRU KRZ DQ\
                   SXUSRUWHG SUREDWLYH YDOXH RI VXFK VWDWHPHQWV RXWZHLJKV WKH XQIDLU SUHMXGLFH WKHLU
                   LQWURGXFWLRQZLOOFUHDWH$SSOH¶VPRWLRQin limine VKRXOGEHJUDQWHG
                                                          ARGUMENT
                  I.     PLAINTIFFS’ PROCEDURAL CHALLENGES ARE MERITLESS
                         3ODLQWLIIVZURQJO\DVVHUWWKDW$SSOHYLRODWHGWKLV&RXUW¶VOLPLWRIIRXUPRWLRQVin
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                  DUJXPHQWV XQGHU )5(  DQG  UHODWHG WR D VLQJOH WRSLF²i.e. LUUHOHYDQW DQG
                  LQIODPPDWRU\ VWDWHPHQWV DWWULEXWHG WR $SSOH¶V FXUUHQW DQG IRUPHU HPSOR\HHV  7KDW
                  $SSOHLQVHUWHGVXEKHDGLQJVIRUUHDGDELOLW\SXUSRVHVGRHVQRWWUDQVPXWHDVLQJOHPRWLRQ
                  LQWRVHYHUDO
                         3ODLQWLIIVDOVRZURQJO\DUJXHWKDWWKLVPRWLRQVKRXOGEHGHQLHGDVXQGXO\YDJXH
                  VLPSO\EHFDXVH$SSOHXVHGWKHZRUG³LQFOXGLQJ´ZKHQGHVFULELQJVRPHVXEFDWHJRULHV
                  RILUUHOHYDQWVWDWHPHQWVDWWULEXWHGWR$SSOH¶VHPSOR\HHV RUIRUPHUHPSOR\HHV 2SS
                  1RWRQHRI3ODLQWLIIV¶FLWHGFDVHVVWDQGIRUWKHSURSRVLWLRQWKDWDPRWLRQin limine
                  VKRXOGEHGHQLHGRXWULJKWVLPSO\EHFDXVHLWXVHVWKHZRUG³LQFOXGLQJ´ZKHQGHVFULELQJ
                  DFDWHJRU\RIHYLGHQFHRUDUJXPHQWWRH[FOXGH)RUH[DPSOHVHYHUDORI3ODLQWLIIV¶FDVHV
                  LQYROYHGPRWLRQVWKDWUHIHUHQFHGQHEXORXVFDWHJRULHVStars & Bars, LLC v. Travelers
           
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                     6KRXOG WKH &RXUW ILQG WKDW $SSOH¶V PRWLRQV DGGUHVV PXOWLSOH LVVXHV LW UHVSHFWIXOO\
                  UHTXHVWVWKDWWKH&RXUWQRQHWKHOHVVGHFLGH$SSOH¶VPRWLRQVLQOLPLQHFRQVLVWHQWZLWKLWV
                    SDVWSUDFWLFHSee, e.g.The Ohio House LLC v. City of Costa Mesa:/
                  DW Q &'&DO0DU  GHFLGLQJSODLQWLII¶VVL[PRWLRQVLQOLPLQH 
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                   Casualty Ins. Co. of Am.:/DW  &'&DO0D\  VHHNLQJ
                   WRSUHFOXGH³HYLGHQFHWKDW>GHIHQGDQW¶VDJHQW@ZDVQHJOLJHQWRUWKDW>GHIHQGDQW@>ZDV@
                   YLFDULRXVO\OLDEOHIRU>LWVDJHQW¶V@QHJOLJHQFH´ see also, e.g.McCoy v. Kazi:/
                   DW  &'&DO$XJ  VHHNLQJWRH[FOXGH³µSUREOHPVZLWKDQGRU
                   FRPSODLQWV¶DERXWZLWQHVVHV´ZKHUHWKHPRYDQW³SURYLGH>G@QRGHWDLORQZKDWVSHFLILF
                   FRPSODLQWV«RUWKHLUVXEMHFWPDWWHUV´ Haeger v. Goodyear Tire & Rubber Co.
                   :/DW  '$UL]6HSW  GHQ\LQJDV³YDJXH´DPRWLRQWRH[FOXGH
                   ³LQIODPPDWRU\FRPPHQWDU\E\WKHSDUWLHVWKHLUFRXQVHORUZLWQHVVHV Trovata, Inc v.
                   Forever 21, Inc.:/DW  &'&DO0DU  VHHNLQJWRH[FOXGH
                  ³HYLGHQFHRIWKLUGSDUW\DFWLRQV´ZLWKRXWGHVFULELQJWKHFRQWHQWVRXJKWWREHH[FOXGHG 
                  Baxter Diagnostics, Inc. v. Novatek Med., Inc.:/  6'1<6HSW
                    GHQ\LQJinter aliaDPRWLRQWRSUHFOXGHDOOHYLGHQFHRQDSDUWLFXODUFODLP 
                  +HUHLQFRQWUDVW$SSOHKDVHLWKHUSURYLGHGVSHFLILFH[DPSOHVWRLOOXVWUDWHWKHPHWHVDQG
                  ERXQGVRIWKHVXEFDWHJRULHVRIHYLGHQFHLWZLVKHVWRH[FOXGH HJVSHFLILFVWDWHPHQWV
                  E\6WHYH-REV RUSURYLGHGFULVSZHOOGHILQHGFDWHJRULHVWKDWDUHFOHDURQWKHLUIDFH HJ
                  PHGLDVSHFXODWLRQRUSROLWLFDOSRVLWLRQVDVFULEHGWR$SSOHRULWVOHDGHUVKLS 
                         7KHUHPDLQLQJGHFLVLRQVGHQLHGPRWLRQVin limineEHFDXVHWKH\FRQIOLFWHGZLWK
                  WKHFRXUW¶VSULRUUXOLQJVRUEDVLFWULDOSURWRFROSee, e.g.Apple Inc. v. Samsung Elecs.
                  Co.:/DW  1'&DO0DU  GHQ\LQJRQUHWULDOPRWLRQWR
                  H[FOXGH HYLGHQFH SRVWGDWLQJ WKH ILUVW WULDO EHFDXVH WKH PRWLRQ GLG QRW LGHQWLI\
                  ³DGGLWLRQDOVSHFLILFHYLGHQFH´QRWSUHFOXGHGE\DSULRURUGHUOLPLWLQJSUHVHQWDWLRQVWR
                  PDWHULDOV WLPHO\ GLVFORVHGEHIRUH WKH ILUVW WULDO Lego v. Stratos Int’l, Inc.  :/
                  DW  1'&DO1RY  GHQ\LQJPRWLRQWRSUHFOXGHXVHRIHYLGHQFH
                  DQG DGYHUVH LQIHUHQFH WKHUHIURP EHFDXVH PRYDQW IDLOHG WR HVWDEOLVK GLVFRYHU\
                  YLRODWLRQV 
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                          :KLOH$SSOHEHOLHYHVWKDWLWVPRWLRQLVVXIILFLHQWO\FOHDUWRWKHH[WHQWWKLV&RXUW
                   KDV TXHVWLRQV DERXW WKH VFRSH RI DQ\ SDUWLFXODU VXEFDWHJRU\ WKLV &RXUW¶V GHFLVLRQ LQ
                   Trovata SURYLGHV WKH DSSURSULDWH VROXWLRQ  6SHFLILFDOO\ WKLV &RXUW VKRXOG GHFLGH WKH
                   PRWLRQ ZLWK UHVSHFW WR SDUWLFXODU H[DPSOHV DQGRU FOHDUO\ GHILQHG FDWHJRULHV  DQG
                   UHTXLUH 3ODLQWLIIV ³WR PDNH DQ RIIHU RI SURRI RXWVLGH WKH SUHVHQFH RI WKH MXU\ EHIRUH
                   RIIHULQJDQ\HYLGHQFH´WKDWWRXFKHVRQDEURDGFDWHJRU\DVDZKROHTrovata:/
                   DW 
                   II.    IRRELEVANT AND/OR INFLAMMATORY STATEMENTS ATTRIBUTED TO
                          CURRENT AND FORMER APPLE EMPLOYEES SHOULD BE EXCLUDED
                         A.     Plaintiffs Do Not Object To Excluding The Two Specific Statements
                                By Dr. Michael O’Reilly Identified In Apple’s Opening Brief
                         $V $SSOH H[SODLQHG 3ODLQWLIIV VKRXOG EH SUHFOXGHG IURP RIIHULQJ HYLGHQFH
                  WHVWLPRQ\RUDUJXPHQWFRQFHUQLQJLUUHOHYDQWDQGRUXQGXO\SUHMXGLFLDOVWDWHPHQWVE\
                  'U0LFKDHO2¶5HLOO\LQSDUWLFXODUFHUWDLQFRPPHQWVPDGHE\'U2¶5HLOO\PDGHGXULQJ
                  KLVHPSOR\PHQWDW$SSOHWKDWKDYHQRFRQQHFWLRQWRWKLVFDVH0RW3ODLQWLIIVKDYH
                  QRZDJUHHGQRWWRWU\WRLQWURGXFHWKHWZRLUUHOHYDQWLQIODPPDWRU\VWDWHPHQWVE\'U
                  2¶5HLOO\GLVFXVVHGLQ$SSOH¶VRSHQLQJEULHI2SS$SSOHWKHUHIRUHUHTXHVWVWKH
                  &RXUWHQWHUDQRUGHUEDUULQJWKHXVHRIWKRVHVWDWHPHQWV
                         B.     This Court Should Exclude References To Media Speculation Or
                                Political Positions Ascribed To Apple Or Its Leadership
                        $V$SSOHH[SODLQHGHYLGHQFHWHVWLPRQ\RUDUJXPHQWDERXWSROLWLFDOSRVLWLRQV
                  DWWULEXWHGWR$SSOHRULWVOHDGHUVKLSPHGLDUHSRUWVXQUHODWHGWRWKLVOLWLJDWLRQDQGPHGLD
                  VSHFXODWLRQDERXW$SSOHLVEDUUHGXQGHU)5(DQG0RW3ODLQWLIIV¶RQO\
           
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                  
                     3ODLQWLIIVDUHLQFRUUHFW 2SS WKDW$SSOHGLGQRWLGHQWLI\RQHRIWKHWZR
                  VWDWHPHQWVDWWKHPHHWDQGFRQIHU(YHQLIWKDWZHUHWKHFDVHPRUHRYHU$SSOHVHQW
                    3ODLQWLIIVVHYHUDOOHQJWK\HPDLOVGHWDLOLQJLWVSRVLWLRQRQHDFKPRWLRQLQOLPLQHVKRUWO\
                  DIWHUWKHPHHWDQGFRQIHUZKLFKLQFOXGHGERWKVWDWHPHQWV([
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                    $33/(¶65(3/<,168332572),760,/12(;&/8'(,55(/(9$17$1'25,1)/$00$725<
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                   DQVZHULVWKDWWKLVFDWHJRU\LVWRR³YDJXH´IRUSXUSRVHVRIDPRWLRQin limine2SS
                   %XWDV$SSOHSRLQWHGRXWLQLWVRSHQLQJEULHIPXOWLSOHFRXUWVKDYHH[FOXGHGWKLVEDVLF
                   FDWHJRU\RIVWDWHPHQWVLQFDVHVLQYROYLQJ$SSOHSeeOptis Wireless Tech., LLC v. Apple
                   Inc.1RFY ('7H[-XO\ (&)DW )5( Pinn,
                   Inc. v. Apple Inc.:/DW  &'&DO-XO\ 3ODLQWLIIVPDNH
                   QRDWWHPSWWRGLVWLQJXLVKWKHVHFDVHVRURWKHUZLVHH[SODLQZK\WKHLUUXOLQJVVKRXOGQRW
                   DSSO\KHUHZKLFKLVQRWVXUSULVLQJJLYHQWKDWPHGLDVSHFXODWLRQRUSROLWLFDOSRVLWLRQV
                   DVFULEHGWR$SSOHRULWVOHDGHUVKLSDUHSODLQO\LUUHOHYDQWWRDQ\IDFWRIFRQVHTXHQFHLQ
                   WKLVPDWWHUDQGZRXOGKDYHWKHSRWHQWLDOWRFUHDWHXQIDLUSUHMXGLFHZLWKWKHMXU\$SUH
                  WULDO UXOLQJ LV WKXV QHFHVVDU\ WR DYRLG WKH MXU\ EHLQJ VZD\HG E\ VXFK LQDGPLVVLEOH
                  HYLGHQFH
                         C.      This Court Should Exclude Any Anecdotes About Apple’s Corporate
                                 Culture Or History That Are Not Tied To The Facts Of This Case
                         $V $SSOH H[SODLQHG 3ODLQWLIIV VKRXOG QRW EH DOORZHG WR LQWURGXFH FHUWDLQ
                  DQHFGRWHV DV HYLGHQFH WKDW $SSOH KDV D FRUSRUDWH FXOWXUH GLVUHVSHFWIXO RI LQWHOOHFWXDO
                  SURSHUW\SURWHFWLRQV0RW3ODLQWLIIV¶DUJXPHQWVLQUHVSRQVHIDLO
                         0RVWQRWDEO\LWLV3ODLQWLIIV²DVWKHSDUW\VHHNLQJWRRIIHUHYLGHQFHDERXW$SSOH¶V
                  XVHRISLUDWHLPDJHU\DQGUHIHUHQFHV²WKDWKDYHWKH³EXUGHQRIVKRZLQJWKHUHOHYDQFH
                  DQGSUREDWLYHYDOXHRIWKHSURIIHUHGHYLGHQFHLQRUGHUWRSHUPLWWKHZHLJKLQJSURFHVV
                  UHTXLUHGXQGHU>)5(@´Berry v. Gates)G WK&LU 3ODLQWLIIV
                  GRQRWHYHQDWWHPSWWRPHHWWKDWEXUGHQ:KLOH3ODLQWLIIVSRLQWWRDQXQGDWHGXQFUHGLWHG
                  SLFWXUH RI D VNXOODQGFURVVERQHV IODJ ZKLFK $SSOH¶V  E   ZLWQHVV GLG QRW HYHQ
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                     3ODLQWLIIV¶UHOLDQFHRQStars & Bars LVPLVSODFHGDVWKHPRYLQJSDUW\WKHUHVRXJKWWR
                  H[FOXGHDEURDGFDWHJRU\WKDWLQFOXGHGDWOHDVWVRPH³SODLQO\UHOHYDQW´HYLGHQFHStars
                    & Bars:/DW 3ODLQWLIIV¶RWKHUWZRFDVHVLQYROYHGH[FHHGLQJO\
                  YDJXHFDWHJRULHVRIHYLGHQFHSee Trovata:/DW  ³WKLUGSDUW\
                    DFWLRQV´ McCoy:/DW  ³SUREOHPVZLWKDQGRUFRPSODLQWV
                  DERXWZLWQHVVHV´ 
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                UHFRJQL]H see 2SS   DQG D PRUH WKDQ WZRGHFDGHROG TXRWH IURP 6WHYH -REV ³LW¶V
                EHWWHUWREHDSLUDWHWKDQWRMRLQWKHQDY\´ WKH\KDYHQRWLGHQWLILHGDQ\GRFXPHQWRU
                HYHQ D VLQJOH OLQH RI WHVWLPRQ\ WKDW VXSSRUWV WKHLU DVVHUWLRQ WKDW WKH SLUDWH UHIHUHQFHV
                PHDQ WKDW $SSOH ³HQFRXUDJHV RU DW OHDVW WROHUDWHV  FRS\LQJ´  2SS  see U.S. v.
                Verduzco  )G   WK &LU   DIILUPLQJ H[FOXVLRQ RI HYLGHQFH DV
                LUUHOHYDQW ZKHUH WKH SURSRQHQW ³ODLG´ ³LQVXIILFLHQW IRXQGDWLRQ« WR VXSSRUW WKH
                WHVWLPRQ\¶VUHOHYDQFH´ 5DWKHUDV$SSOH¶V E  ZLWQHVVVXPPDUL]HGWKHSLUDWH
                LPDJHU\LVPHUHO\PHDQWWR³FRQYH\WKHLGHDWKDW$SSOH¶VDELWGLIIHUHQWIURPWKHUHVWRI
                WKHKHUG´DQGLVPRUH³QLPEOH>@DQGDJLO>H@´([DW,QGHHGWKHWHVWLPRQ\
               FLWHG LQ ERWK $SSOH¶V PRWLRQ DQG 3ODLQWLIIV¶ RSSRVLWLRQ DOO SRLQWV WR WKH VDPH
               FRQFOXVLRQ²WKDW $SSOH GRHV not SHUPLW RU WROHUDWH FRS\LQJ  See 0RW  TXRWLQJ
               $SSOH¶V E  ZLWQHVV see also 2SS TXRWLQJinter aliaVWDWHPHQWVIURP$SSOH¶V
               &(2DQG E  ZLWQHVV 
                      :KLOH3ODLQWLIIVUHO\RQIRXUFDVHVWRVXSSRUWWKHLUSRVLWLRQ 2SS QRQH
               LVRQSRLQW,QIntegra Lifesciences I, Ltd. v. Merck KgaA:/ 6'
               &DO -DQ    IRU H[DPSOH ERWK VLGHV KDG HYLGHQFH HJ H[SHUW WHVWLPRQ\  WR
               VXSSRUW WKHLU FRPSHWLQJ SRVLWLRQV UHJDUGLQJ WKH GHIHQGDQW¶V ³QH[W EHVW DOWHUQDWLYH WR
               LQIULQJHPHQW´id.DW +HUH3ODLQWLIIVKDYHQRHYLGHQFHWRVXSSRUWWKHLUDVVHUWLRQWKDW
               WKHSLUDWHUHIHUHQFHVDQGLPDJHU\LQGLFDWH$SSOHHQFRXUDJHVFRS\LQJ7ZRRI3ODLQWLIIV¶
               RWKHUFDVHVDUHLQDSSRVLWHEHFDXVHWKH\LQYROYHGZKHWKHUWKHdefendant ZDVSHUPLWWHG
                                         
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                3ODLQWLIIVGRQRWHYHQERWKHUWROD\DIRXQGDWLRQIRUZKRWRRNWKHSLFWXUHDQGXQGHU
                 ZKDWFLUFXPVWDQFHV0U.DW]HQHOOHQERJHQ¶VGHFODUDWLRQVWDWHVPHUHO\WKDWLWLVD³WUXH
               DQGFRUUHFWFRS\RIDSKRWRJUDSK´WKDW3ODLQWLIIVXVHGDWDGHSRVLWLRQRIRQHRI$SSOH¶V
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               ³)RONORUH´ZHESDJHDV³RQHSHUVRQ¶VVXEMHFWLYHRSLQLRQ´ 2SS EXWWKH\RPLW
                 WKDW0U+HUW]IHOGZDVDPHPEHURIWKHRULJLQDO$SSOH0DFLQWRVKGHYHORSPHQWWHDP
               DQGWKXVKDVVSHFLDONQRZOHGJHDERXWWKHRULJLQVRIWKHLPDJHU\,QDQ\HYHQWDVQRWHG
                 3ODLQWLIIVKDYHQRWLGHQWLILHGDQ\WKLQJWKDWFRQWUDGLFWV0U+HUW]IHOG¶VDFFRXQWZKLFKLV
               HQWLUHO\FRQVLVWHQWZLWKWKHWHVWLPRQ\RI$SSOH¶VZLWQHVVHVLQWKLVPDWWHU
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                WRSUHVHQWHYLGHQFHRILWVFRUSRUDWHFXOWXUHWRrebutSODLQWLIIV¶DFFXVDWLRQVRIFRS\LQJ
                See VIA Techs., Inc. v. ASUS Comput. Int’l:/DW  1'&DO-XO\
                  GHIHQGDQWVVRXJKWWRSUHVHQW³HYLGHQFHRIWKHLURZQLQWHOOHFWXDOSURSHUW\´ 
                Canon, Inc. v. Color Imaging, Inc.)6XSSG 1'*D'HF
                   GHIHQGDQWV VRXJKW WR SUHVHQW HYLGHQFH UHJDUGLQJ ³WKHLU GHYHORSPHQW RI >D
                VSHFLILF@SDWHQWLQFRPELQDWLRQZLWKRWKHUHYLGHQFHRIWKHLURYHUDOOEXVLQHVVIRFXVRQ
                WHFKQRORJ\DQGSDWHQWGHYHORSPHQW´ 7KHODVWFDVH William Hablinski Architecture v.
                Amir Constr. Inc. LVHYHQIXUWKHUDILHOG7KHUHWKHTXHVWLRQZDVZKHWKHUGHIHQGDQWV
                FRXOG SUHVHQW DQ\ HYLGHQFH DW DOO RI 3ODLQWLIIV¶ FRUSRUDWH FXOWXUH RI FRS\LQJ²QRW
               ZKHWKHUGHIHQGDQWVKDGHVWDEOLVKHGWKDWDSDUWLFXODUW\SHRIHYLGHQFHZDVUHOHYDQWWR
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                E WRVKRZ³LQWHQWNQRZOHGJHDEVHQFHRIPLVWDNHDQGODFNRIDFFLGHQW´2SS
               %XW)5( E GRHVQRWFUHDWHDQH[FHSWLRQWR)5(DQG¶VEDURQLUUHOHYDQWRU
               XQGXO\SUHMXGLFLDOHYLGHQFH,W³is notDGLIIHUHQWSDWKZD\WRWKHDGPLVVLRQRIHYLGHQFH
               >IURP)5(@´LWLV³VLPSO\DVSHFLILFTXDOLILFDWLRQRIWKHJHQHUDOUXOHRIDGPLVVLELOLW\
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               EDQF  HPSKDVLVDGGHG id.DW HYHQUHOHYDQWHYLGHQFHWKDWIDOOVXQGHU)5( E 
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               XVHRISLUDWHLPDJHU\DQGUHIHUHQFHVWRSURYH$SSOHFRSLHGLQWKLVSDUWLFXODUFDVH e.g.
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               FKDUDFWHUHYLGHQFHCompare id.DW DUJXLQJ³>H@YLGHQFHWKDW$SSOHµVWHDOVLQWHOOHFWXDO
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               HYLGHQFHUHJDUGLQJLWVRZQFRUSRUDWHFXOWXUH 2SS WKH\VKRXOGKDYHILOHG
                 WKHLURZQPRWLRQin limine RQWKDWLVVXH.7KH\FDQQRWQRZVHHNUHOLHIIRUWKHILUVWWLPH
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                SURSHUW\ IURP RWKHU FRPSDQLHV¶ PDNHV LW PRUH OLNHO\ WKDW $SSOH PLVDSSURSULDWHG
                0DVLPR¶VWUDGHVHFUHWVDQGILOHGSDWHQWVRQ0DVLPR¶VLQYHQWLRQV´ and )HG5(YLG
                 D   ³(YLGHQFHRIDSHUVRQ¶VFKDUDFWHURUFKDUDFWHUWUDLWLVQRWDGPLVVLEOHWRSURYH
                WKDWRQDSDUWLFXODURFFDVLRQWKHSHUVRQDFWHGLQDFFRUGDQFHZLWKWKHFKDUDFWHURUWUDLW´ 
                    E   ³(YLGHQFHRIDQ\RWKHUFULPHZURQJRURWKHUDFWLVQRWDGPLVVLEOHWRSURYHD
                SHUVRQ¶V FKDUDFWHU LQ RUGHU WR VKRZ WKDW RQ D SDUWLFXODU RFFDVLRQ WKH SHUVRQ DFWHG LQ
                DFFRUGDQFHZLWKWKHFKDUDFWHU´ 
                         )LQDOO\HYHQLI3ODLQWLIIVFRXOGHVWDEOLVKWKDWWKHSLUDWHLPDJHU\DQGUHIHUHQFHV
                KDYHDPRGLFXPRIUHOHYDQFHLWZRXOGEHVLJQLILFDQWO\RXWZHLJKHGE\WKHGDQJHURI
               XQIDLUSUHMXGLFHDQGXQGXHGHOD\UHQGHULQJWKHPLQDGPLVVLEOHXQGHU)5(0RW
               3ODLQWLIIVRIIHUQRPHDQLQJIXOUHVSRQVHWRWKHXQGXHGHOD\WKDWZRXOGEHFDXVHGE\WKH
               QHHGIRU$SSOHWRSXWRQUHEXWWDOHYLGHQFH,QVWHDGWKHLURQO\DUJXPHQWLVWKDWWKHSLUDWH
               LPDJHU\DQGUHIHUHQFHVDUHQRW³XQIDLUO\´SUHMXGLFLDO2SS1RWWUXH*LYHQWKDW
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               KDGDFXOWXUHRIFRS\LQJWKHRQO\FRQFHLYDEOHZD\IRUWKHPWRXVHWKHSLUDWHLPDJHU\RU
               UHIHUHQFHV ZRXOG EH WKURXJK XQSURYHQ DOOHJDWLRQV LQ WKH RSHQLQJ VWDWHPHQW RU YLD
               LQIODPPDWRU\TXHVWLRQVSRVHGWR$SSOH¶VZLWQHVVHV%HFDXVHLWZLOOEHLPSRVVLEOHWR
               XQULQJWKHEHOORQFH3ODLQWLIIVKDYHUDLVHGWKHLVVXHLQIURQWRIWKHMXU\WKLV&RXUWVKRXOG
               VSHDNFOHDUO\QRZDQGEDUVXFKDQDSSURDFKSee Mixed Chicks LLC v. Sally Beauty
               Supply LLC  ) 6XSS G   &' &DO   RQH RI WKH ³H[DPSOHV RI
               SURSHUUHDVRQVIRUPRWLRQVLQOLPLQH´LV³>W@RUHVROYHKLJKO\VHQVLWLYHLVVXHVEHIRUHWKH
               µEHOOLVUXQJ¶LQIURQWRIWKHMXU\LQRSHQLQJVWDWHPHQWVRUTXHVWLRQVWRZLWQHVVHV´ see
               also Skelton v. Examiner Corp.:/DW  ('7H[2FW 
                   JUDQWLQJPRWLRQLn limine GXHWRSODLQWLII¶VIDLOXUHWROD\SURSHUSUHGLFDWHWRHVWDEOLVK
               UHOHYDQFH DQG ³WKH SRWHQWLDO IRU VXEVWDQWLDO SUHMXGLFH WR >G@HIHQGDQWV LI WKH µEHOO LV
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                          D.     This Could Should Exclude Irrelevant And/Or Inflammatory
                                 Statements By Current Or Former Apple Employees
                                 1.     Statements About “Efficient Infringement”
                          $V$SSOHH[SODLQHGWKHFRQFHSWRI³HIILFLHQWLQIULQJHPHQW´LVLUUHOHYDQWWRWKLV
                FDVHZKLFKGRHVQRWHYHQLQFOXGHOLYHSDWHQWLQIULQJHPHQWFODLPV0RW3ODLQWLIIV
                GRQRWGLVSXWHWKDWWKH\KDYHQRWHOLFLWHGDQ\HYLGHQFHWKDW$SSOHDFWXDOO\HPSOR\HGDQ
                ³HIILFLHQWLQIULQJHPHQW´VWUDWHJ\$V$SSOH¶V E  ZLWQHVVRQWKHLVVXHH[SODLQHG
                $SSOHGRHVQRWEHOLHYHLQDQ\VXFKVWUDWHJ\DQGLWVEXVLQHVVFRQGXFWSROLF\LVH[SUHVVO\
                WRWKHFRQWUDU\Compare 0RWwith 2SSsee also ([DW
                         :KLOH3ODLQWLIIVQRZLQVLQXDWHWKDWWKH\FRXOGQRWLGHQWLI\DQ\HYLGHQFHWRVXSSRUW
               WKHLU SRVLWLRQ EHFDXVH $SSOH LPSURSHUO\ ZLWKKHOG ³UHOHYDQW UHVSRQVLYH GRFXPHQWV´
               2SS  WKH 6SHFLDO 0DVWHU GLVDJUHHG  6SHFLILFDOO\ DOWKRXJK 3ODLQWLIIV PRYHG WR
               FRPSHO $SSOH WR SURGXFH DGGLWLRQDO GRFXPHQWV WKDW XVHG WKH SKUDVH ³HIILFLHQW
               LQIULQJHPHQW´ WKH 6SHFLDO 0DVWHU DFFHSWHG $SSOH¶V VZRUQ VWDWHPHQW WKDW                      
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               GHFODUDWLRQ %\IDLOLQJWRWLPHO\REMHFWWRWKH6SHFLDO0DVWHU¶VUXOLQJ3ODLQWLIIVZDLYHG
               DQ\ULJKWWRFRPSODLQDERXW$SSOH¶VIDLOXUHWRSURGXFHWKHWZRSULYLOHJHGGRFXPHQWV
                         )LQDOO\HYHQLI3ODLQWLIIVFRXOGSRLQWWRDQ\IRXQGDWLRQLQWKHUHFRUGVXJJHVWLQJ
               WKDW³HIILFLHQWLQIULQJHPHQW´KDVWKHVOLJKWHVWDPRXQWRIUHOHYDQFHDQ\UHIHUHQFHWRWKH
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               FRPPLWVWRQRWUHIHUHQFLQJWKHSKUDVHDWWULDO
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                SKUDVHZRXOGEHXQIDLUO\SUHMXGLFLDOEHFDXVHLWZRXOGVXJJHVW ZLWKRXWDQ\HYLGHQWLDU\
                EDVLV  WKDW $SSOH V\VWHPDWLFDOO\ LQIULQJHV LQWHOOHFWXDO SURSHUW\ ULJKWV DQG WKDW LW PXVW
                KDYHLQIULQJHG3ODLQWLIIV¶ULJKWVLQWKLVFDVH0RWsee also Copart, Inc. v. Sparta
                Consulting, Inc.  :/  DW  (' &DO $SU    ILQGLQJ ³WKH
                HYLGHQFHVXEVWDQWLDOO\PRUHSUHMXGLFLDOWK>D@QSUREDWLYHEHFDXVHRIWKHKLJKULVNWKHMXU\
                ZLOO WUHDW WKH HYLGHQFH DV SURSHQVLW\ HYLGHQFH ZHLJKHG DJDLQVW WKH UHODWLYHO\ ORZ
                SUREDWLYH YDOXH RI WKLV HYLGHQFH DV WR >WKH SDUW\¶V@ PRWLYHV RU LQWHQW LQ WKLV FDVH´ 
                3ODLQWLIIV¶RQO\UHVSRQVHLVWKDWPHUHO\³DVN>LQJ@TXHVWLRQVLQVXSSRUWRI>WKH@WKHRU\´
                FDQQRWEHSUHMXGLFLDOLI3ODLQWLIIVFDQQRWVKRZ$SSOHDFWXDOO\HQJDJHVLQWKHSUDFWLFH
               2SS1RWVR6XFKTXHVWLRQVZRXOGDOORZ3ODLQWLIIVWRSODQWDVHHGLQWKHPLQG
               RIWKHMXU\WKDW$SSOHKDVDFWHGLPSURSHUO\ZLWKRXWDQ\HYLGHQWLDU\EDVLV²DQXQIRXQGHG
               JXLOWE\DVVRFLDWLRQDUJXPHQWWKDWZRXOGRQO\EHJLYHQPRUHDWWHQWLRQLI$SSOHVSHQW
               YDOXDEOHWLPHDQGUHVRXUFHVGLVSURYLQJLWSee Bioriginal Food & Sci. Corp. v. Biotab
               Nutraceuticals, Inc.:/DW  &'&DO$XJ  ³H[SRVLQJ
               WKHMXU\WRHYLGHQFHRI>LUUHOHYDQWGLVSXWHVEHWZHHQGHIHQGDQWVDQGWKLUGSDUWLHV@FRXOG
               UHVXOWLQFRQIXVLRQDQGFDXVHXQIDLUSUHMXGLFHDQGGHOD\´ 
                             2.      Irrelevant And Prejudicial Statements Attributed To Steve Jobs
                      $V$SSOHH[SODLQHG6WHYH-REV¶VVWDWHPHQWVWKDW³JRRGDUWLVWVFRS\JUHDWDUWLVWV
               VWHDO´DQG³>L@W¶VEHWWHUWREHDSLUDWHWKDQMRLQWKHQDY\´DUHERWKLUUHOHYDQWWRWKLVFDVH
               DVWKH\KDYHQRUHODWLRQWRWKHDFFXVHGSURGXFWVRULVVXHVWREHWULHGLQFOXGLQJEHFDXVH
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               WHVWLPRQ\RUHYLGHQFHUHJDUGLQJRWKHUOLWLJDWLRQVRUDGPLQLVWUDWLYHSURFHHGLQJVDJDLQVW
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                  3ODLQWLIIVDUJXHWKDW$SSOHVKRXOGQRWEHDOORZHGWRH[FOXGHWKHVHQWHQFHULJKWDIWHUWKH
                 ³JRRGDUWLVWV´TXRWHLQWKHVDPHLQWHUYLHZ2SS%XWDV3ODLQWLIIVUHFRJQL]HG$SSOH
               GRHVQRWOLPLWLWVHOIWRMXVWWKHVHWZRVHQWHQFHVSee 2SS$SSOHLGHQWLILHVWKH³JRRG
                                                                                   (Cont’d on next page)
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                 $33/(¶65(3/<,168332572),760,/12(;&/8'(,55(/(9$17$1'25,1)/$00$725<
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                WKHPVHOYHVDFNQRZOHGJHWKDW0U-REVZDVQRWRQH³RIWKHUHOHYDQWGHFLVLRQPDNHUVDW
                $SSOH´IRUSXUSRVHVRIWKLVFDVH2SS$VGHPRQVWUDWHGE\WKHFDVHV$SSOHFLWHLQ
                LWVRSHQLQJEULHIFRXUWVURXWLQHO\JUDQWVLPLODUUHTXHVWVH[FOXGLQJHYLGHQFHVWDWHPHQWV
                RUDUJXPHQWVUHODWLQJWR0U-REVWKDWLVLUUHOHYDQWWRWKHXQGHUO\LQJFDVHV
                         3ODLQWLIIV IDLO WR HIIHFWLYHO\ GLVWLQJXLVK $SSOH¶V FDVHV  See 2SS   )RU
                H[DPSOH3ODLQWLIIVPLVOHDGZKHQWKH\VXJJHVWWKDWWKHUXOLQJLQPinn, Inc. v. Apple, Inc.
                ZDVXQRSSRVHG7KHSODLQWLIIVLQWKDWFDVHRULJLQDOO\RSSRVHG$SSOH¶VUHTXHVWWRH[FOXGH
                HYLGHQFHDERXW0U-REVLQFOXGLQJWKH³JRRGDUWLVWV´TXRWHLQIURQWRIWKHVSHFLDOPDVWHU
                    FY (&) 1R  DW  &' &DO $SU    DQG ZKLOH WKH
               SODLQWLIIVGLGQRWREMHFWWRWKHVSHFLDOPDVWHU¶VXOWLPDWHUXOLQJWKHFRXUWDGRSWHGWKDW
               UXOLQJRQO\DIWHUFRQGXFWLQJLWVRZQde novoUHYLHZ:/DW  &'
               &DO-XO\ 3ODLQWLIIVGRQRWGLVSXWHWKDWWKHFRXUWLQContentguard Holdings,
               Inc. v. Amazon.com, Inc.H[SUHVVO\H[FOXGHG0U-REV¶VWDWHPHQWV:KLOHWKH\QRWHWKDW
               WKHFRXUWGLGQRWH[SUHVVO\H[FOXGHDGLIIHUHQWSLHFHRIHYLGHQFH DGRFXPHQWDU\HQWLWOHG
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               Technology, LLC v. Apple Inc.DV$SSOHQRWHG 0RW WKHFRXUWSUHFOXGHGUHIHUHQFHV
               WR³VWDWHPHQWVORQJDJRE\6WHYH-REV´WKDWDUH³XQUHODWHGWRWKHOLWLJDWLRQ´7KHRQO\
               VWDWHPHQWVE\0U-REVWKDWZHUHLQWURGXFHGLQYROYHG$SSOH¶VUHODWLRQVKLSZLWKDWKLUG
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               DQ\LQGHSHQGHQWDUJXPHQWIRUZK\WKH³EHWWHUWREHDSLUDWHWKDQMRLQWKHQDY\´TXRWHLV
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                UHOHYDQW EH\RQG ZKDW KDV EHHQ GLVFXVVHG DERYH LQ WKH FRQWH[W RI WKH SLUDWH
                LPDJHU\UHIHUHQFHVHFWLRQSee 2SS)RUWKHUHDVRQVH[SODLQHGDERYHWKHVWDWHPHQW
                VKRXOGEHH[FOXGHGSee supra ,,&
                       Second 3ODLQWLIIV¶RQO\DUJXPHQWIRUZK\WKH³JRRGDUWLVWV´TXRWHLVUHOHYDQWLV
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                QHFHVVDULO\EHUHOHYDQWWRWKLVFDVH
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               GRFXPHQWRUZLWQHVVZKRKDVVXJJHVWHGWKDWWKHRYHUWZHQW\ILYH\HDUROGTXRWHKDVDQ\
               EHDULQJRQWKLVFDVH7KLVLPSRUWDQWGLVWLQFWLRQGLVWLQJXLVKHVHYHU\FDVHWKDW3ODLQWLIIV
               FLWHLQVXSSRUWRIWKHLUSRVLWLRQDOORIZKLFKLQYROYHGHLWKHUGLVSXWHVZKHUHERWKVLGHV
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               VWDWHPHQWVDQGWKLVFDVHLV3ODLQWLIIV¶VHOIVHUYLQJDWWRUQH\DUJXPHQW
                      3ODLQWLIIV DOVR DUJXH WKDW WKH\ VKRXOG EH DOORZHG WR LQWURGXFH 0U -REV¶V
               VWDWHPHQWVLI³$SSOHSODFHV0U-REV¶VFKDUDFWHUDWLVVXH´2SS%XWWKHPHUHIDFW
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                WKDWFKDUDFWHUHYLGHQFHPD\EHFRPHUHOHYDQWXQGHUVRPHXQNQRZQFLUFXPVWDQFHVDWWULDO
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                FRXUW´ZKLFK³PD\FKDQJHLWVUXOLQJDWWULDO´ZKHUHIDFWVFRPHWROLJKWWKDWWKHFRXUW
                ³GLG QRW DQWLFLSDWH DW WKH WLPH RI LWV LQLWLDO UXOLQJ´  Ruiz v. Walmart Inc.  :/
                DW  &'&DO2FW  TXRWLQJCity of Pomona v. SQM N. Am. Corp.
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                       ,Q DQ\ HYHQW HYHQ LI 3ODLQWLIIV PDQDJHG WR VKRZ HLWKHU TXRWH ZDV PDUJLQDOO\
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               FDXVH XQIDLU SUHMXGLFH FRQIXVLRQ DQG XQGXH GHOD\  0RW   ,QGHHG WKHLU RQO\
               H[SODQDWLRQ IRU ZK\ WKH VWDWHPHQWV DUH QRW XQIDLUO\ SUHMXGLFLDO LV WKHLU EOLWKH
               XQVXSSRUWHG DVVXUDQFH WKDW WKH MXU\ ZLOO EH DEOH WR GHWHUPLQH WKH UHOHYDQW
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               Inc.1RFY(&)1R 1'&DO-XQH 3ODLQWLIIVDUHXVLQJ
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                HYLGHQFH2SS7KDWDUJXPHQWPLVVHVWKHSRLQW²JLYHQWKHPLQLPDOSUREDWLYHYDOXH
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                ZRXOG EH XQGXH EHFDXVH DQ\ PLQXWH $SSOH VSHQGV RQ FRQWH[WXDOL]LQJ WKH -REV
                VWDWHPHQWV ZRXOG RQO\ IXUWKHU GUDZ WKH MXU\¶V DWWHQWLRQ WR WKHVH LUUHOHYDQW DQG
                LQIODPPDWRU\VWDWHPHQWV
                                                      CONCLUSION
                     )RUWKHIRUHJRLQJUHDVRQVWKH&RXUWVKRXOGJUDQW$SSOH¶V0RWLRQLQ/LPLQH1R
                WR SUHFOXGH 3ODLQWLIIV IURP SUHVHQWLQJ DQ\ HYLGHQFH WHVWLPRQ\ RU DUJXPHQW DERXW
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                                         CERTIFICATE OF COMPLIANCE
                     7KHXQGHUVLJQHGFRXQVHORIUHFRUGIRU'HIHQGDQW$SSOH,QFFHUWLILHVWKDWWKLV
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